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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                          Case No: 21-11045-lgb
         CERTA DOSE, INC.,                                      Chapter 11

                                             Debtor.
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         On July 15, 2021, the Court entered a Scheduling Order in this case which among other
terms and conditions set a discovery cutoff date of August 2, 2021 at 5:00 pm (“Scheduling
Order”) docketed at ECF No. 64.

It is hereby ORDERED as follows:

 1. The parties shall exchange pre-marked exhibits (other than those intended to be used for
     rebuttal or impeachment) by no later than 5:00 pm on August 26, 2021 (the “Deadline”).
 2. The parties are obligated to file a stipulation regarding the agreed on the admissibility of as
     many exhibits as possible and provide two complete sets of the exhibits to Chambers in
     indexed joint exhibit books by the Deadline.
 3. Except as set forth herein the terms and conditions of the Scheduling Order shall remain
     unchanged and in full force and effect.

Dated: New York, New York
       August 17, 2021
                                                           /s/ Lisa G. Beckerman
                                                           HON. LISA G. BECKERMAN
                                                           U.S. BANKRUPTCY JUDGE
